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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION



UNITED STATES OF AMERICA                                                     PLAINTIFF


v.                             NO. 4:12CR00055-04 DPM


RYAN O’NEAL                                                                 DEFENDANT




                                         ORDER


      The Government has filed the pending motion for revocation of pre-trial release.

See Document 142. In the motion, the Government asks the Court to issue a summons for

defendant Ryan O’Neal (“O’Neal”) and schedule a hearing for him to appear and show

cause why his pre-trial release should not be revoked. The Court has reviewed the motion

and finds that it should be, and is, granted.

      The Clerk of the Court shall issue a summons. The summons shall contain the date,

time, and place of the hearing on the Government’s motion to revoke O’Neal’s pre-trial

release.

      The hearing on the motion to revoke O’Neal’s pre-trial release will be held

beginning at 10:00 a.m. on Thursday, June 21, 2012, in Courtroom 2B of the Richard S.

Arnold United States Courthouse in Little Rock, Arkansas.
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      The portion of the motion seeking the actual revocation of O’Neal’s pre-trial

release remains pending before the Court.

      IT IS SO ORDERED this    13    day of June, 2012.




                                            UNITED STATES MAGISTRATE JUDGE




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